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                                                        9   Sharone Walker on behalf of themselves
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                                                            and all others similarly situated
                                                       10
                                                       11                               UNITED STATES DISTRICT COURT
            (775) 284-1500 Fax (775) 703-5027
                THIERMAN BUCK, LLP




                                                       12                                DISTRICT OF NEVADA
                   7287 Lakeside Drive




                                                                                                    Case No.: 2:16-cv-02941-RFB-NJK
                     Reno, NV 89511




                                                       13   MUSTAFA YOUSIF and SHARONE
                                                            WALKER on behalf of themselves and all
                                                                                                    STIPULATION AND [PROPOSED]
                                                       14   others similarly situated,              ORDER FOR EXTENSION OF TIME TO
                                                                                                    FILE RESPONSES TO DEFENDANT’S
                                                       15                  Plaintiffs,              MOTION TO DISMISS (ECF NO. 210)
                                                       16          vs.                                            (First Request)
                                                       17   THE VENETIAN CASINO RESORT, LLC;
                                                            LAS VEGAS SANDS, CORP. and DOES 1
                                                       18   through 50, inclusive,
                                                       19          Defendants.
                                                       20          Plaintiffs MUSTAFA YOUSIF and SHARONE WALKER (“Plaintiffs”), by and
                                                       21   through their counsel of record THIERMAN BUCK, LLP, and Defendant VENETIAN
                                                       22   CASINO RESORT, LLC (“Defendant”) by and through its counsel of record DLA PIPER LLP
                                                       23   (US) and OGLETREE, DEAKINS, NASH, SMOAK, & STEWART, P.C., hereby request and
                                                       24   stipulate for a fourteen (14) calendar day extension of time, up to an including Wednesday,
                                                       25   December 15, 2021, for Plaintiffs to submit a responsive pleading to Defendants’ Motion to
                                                       26   Dismiss Plaintiffs’ Rest Period Claims. (ECF No. 210.) The Parties also hereby request and
                                                       27   stipulate to an extension up to and including January 14, 2022, for Defendant to submit its reply
                                                       28   in support. This is the Parties’ first request for an extension of time related to this briefing.
                                                                                                            -1-
                                                                         STIPULATION AND [PROPOSED] ORDER FOR EXTENSION OF TIME
                                                                      TO FILE RESPONSES TO DEFENDANT’S MOTION TO DISMISS (ECF NO. 210)
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                                                        1          The existing briefing schedule on Plaintiffs’ motion for FRCP 23 class certification and
                                                        2   Defendant’s motion to decertify the FLSA collective were vacated. (ECF No. 206.) Per that
                                                        3   Order the Parties shall file their respective FRCP 23 and decertification motions no later than
                                                        4   forty-five (45) days after the Court’s ruling on Defendant’s motion to dismiss and/or strike
                                                        5   related to the Fifth Amended Complaint. Id. Accordingly, there are no other pending deadlines.
                                                        6          This request is made in good faith and not for the purposes of delay. Good cause
                                                        7   appears for the extension of time based on Counsel’s caseload combined with time out of the
                                                        8   office for the Thanksgiving, Hanukkah, and Christmas Holidays.
                                                        9   Dated this 22nd day of November 2021.
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                                                                                                       /s/ Mary C. Dollarhide
                THIERMAN BUCK, LLP




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                                                       25                                              Attorneys for Defendant
                                                                                                       The Venetian Casino Resort, LLC
                                                       26
                                                       27
                                                       28

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                                                                        STIPULATION AND [PROPOSED] ORDER FOR EXTENSION OF TIME
                                                                     TO FILE RESPONSES TO DEFENDANT’S MOTION TO DISMISS (ECF NO. 210)
                                                            Case 2:16-cv-02941-RFB-NJK Document 212 Filed 11/23/21 Page 3 of 3




                                                        1                                 UNITED STATES DISTRICT COURT
                                                        2                                      DISTRICT OF NEVADA

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                                                            MUSTAFA YOUSIF and SHARONE                          Case No.: 2:16-cv-02941-RFB-NJK
                                                        4   WALKER on behalf of themselves and all
                                                                                                                [PROPOSED] ORDER ON
                                                        5   others similarly situated,                          STIPULATION FOR EXTENSION OF
                                                                                                                TIME TO FILE RESPONSES TO
                                                        6                   Plaintiffs,                         DEFENDANT’S MOTION TO DISMISS
                                                                                                                (ECF NO. 210)
                                                        7          vs.

                                                        8   THE VENETIAN CASINO RESORT, LLC;
                                                            LAS VEGAS SANDS, CORP. and DOES 1
                                                        9   through 50, inclusive,
Email: infor@thiermanbuck.com; www.thiermanbuck.comt




                                                       10          Defendants.
                                                       11
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                                                                   Pending before the Court is the Parties’ stipulation for the Parties to file responses to
                THIERMAN BUCK, LLP




                                                       12
                   7287 Lakeside Drive




                                                            Defendant’s Motion to Dismiss Plaintiffs’ Rest Period Claims in Plaintiffs’ operative Fifth
                     Reno, NV 89511




                                                       13
                                                            Amended Complaint. Pursuant to the Parties’ stipulation, the Court hereby orders as follows:
                                                       14
                                                                   1) Plaintiffs shall file their Opposition to Defendant’s Motion to Dismiss Plaintiffs’
                                                       15
                                                                         Rest Period Claims on or before December 15, 2021;
                                                       16
                                                                   2) Defendant shall have until January 14, 2022, to file its Reply to Plaintiffs’
                                                       17
                                                                         Opposition to Defendant’s Motion to Dismiss Plaintiffs’ Rest Period Claims.
                                                       18
                                                                            IS SO ORDERED.
                                                       19
                                                       20          DATED: November 23,
                                                                                    ______________________________
                                                                                       2021.
                                                       21
                                                       22
                                                                                                         U.S. District/Magistrate Judge
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                                                                        STIPULATION AND [PROPOSED] ORDER FOR EXTENSION OF TIME
                                                                     TO FILE RESPONSES TO DEFENDANT’S MOTION TO DISMISS (ECF NO. 210)
